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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                      :
   Sucesión Simon Diaz Marquez,                       :
                                                      :
           Plaintiff,                                 :     Civil Case No. 1:23-cv-23933-FAM
                           v.                         :
                                                      :
   Miami Fine Foods, LLC and Avi Assor,               :
                                                      :     STIPULATION TO EXTEND TIME
           Defendants.                                :      FOR DEFENDANT BETTSYMAR
                                                      :          DIAZ TO RESPOND TO
                                                      :      COUNTERCLAIM-PLAINTIFF’S
   Miami Fine Foods, LLC,                             :     THIRD-PARTY COMPLAINT AND
                                                      :      [PROPOSED] CONSENT ORDER
           Counterclaim-Plaintiff,                    :
                                                      :
                            v.                        :         Document Electronically Filed
                                                      :
   Sucesión Simon Diaz Marquez and                    :
   Bettsymar Diaz,                                    :
                                                      :
           Counterclaim-Defendants.                   :
                                                      :

         WHEREAS, on November 22, 2023, Counterclaim-Plaintiff, Miami Fine Foods, LLC

  (“Counterclaim-Plaintiff”), filed a Third-Party Complaint against Defendant, Bettsymar Diaz

  (“Ms. Diaz”) (ECF No. 12);

         WHEREAS Ms. Diaz was served with copies of the Third-Party Complaint and Summons

  on January 23, 2024 (ECF No. 25);

         WHEREAS, the current deadline for Ms. Diaz to respond to the Third-Party Complaint is

  February 13, 2024; and

         WHEREAS, this is the first request by Ms. Diaz for an extension of time to file her response

  to the Third-Party Complaint.




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         IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, through

  their respective attorneys, that Ms. Diaz may have additional time within which to answer or

  otherwise respond to the Third Party Complaint, up to and including, February 27, 2024.

         Good cause exists for this extension as Ms. Diaz is located in Venezuela where she cares

  for her sick mother. Accordingly, Ms. Diaz requires additional time to fully address the allegations

  in the Third Party Complaint and determine how to proceed in this matter. In addition, the

  extension will allow the parties to continue to engage in settlement negotiations.

         The parties agree to this Consent Order and the same is hereby entered ordering that the

  time for Ms. Diaz to respond to Counterclaim-Plaintiff’s Third Party Complaint is extended, up to

  and including, February 27, 2024.

         The undersigned hereby consent to the entry of the within Consent Order.

  Dated: February 13, 2024

  Respectfully submitted,

  /s/Ben Natter/

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  Attorneys for Bettsymar Diaz


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  /s/Jaime Rich Vining/
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  Attorneys for Counterclaim-Plaintiff



                                         IT IS SO ORDERED:


  Date: ______________, 2024


                                                   _____________________________
                                                   Hon. Federico A. Moreno
                                                   United States District Judge




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below, I caused a true and correct copy of the

  foregoing Stipulation to Extend Time and Consent Order to be electronically filed with the Clerk

  of Court and served upon all counsel of record via the Court’s CM/ECF electronic filing system.


  Dated: February 13, 2024


                                                      Respectfully submitted,

                                                      HAUG PARTNERS LLP

                                              By:     /s/Michael Barer/

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